83 F.3d 422
    NOTICE: Sixth Circuit Rule 24(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Sixth Circuit.Louise K. KUTZ, Plaintiff--Appellant Cross-Appellee,v.OHIO EDUCATION ASSOCIATION;  Great Southern Hotel Ltd.,Defendants--Appellees Cross-Appellants.
    Nos. 94-3991, 94-3993.
    United States Court of Appeals, Sixth Circuit.
    April 23, 1996.
    
      1
      Before:  MILBURN and BOGGS, Circuit Judges, and BORMAN, District Judge*.
    
    ORDER
    
      2
      This cause having come on to be heard upon the record, the briefs and the oral argument of the parties, and upon due consideration thereof,
    
    
      3
      The court finds that no prejudicial error intervened in the judgment and proceedings in the district court, and it is therefore ORDERED that said judgment be and it hereby is affirmed.
    
    
      
        *
         The Honorable Paul Borman, United States District Judge for the Eastern District of Michigan, sitting by designation
      
    
    